         Case 1:17-cr-00201-ABJ Document 330 Filed 06/21/18 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       )
                                                )
                 v.                             )
                                                )
 RICHARD W. GATES III,                          )             Crim. No. 17-201-2 (ABJ)
                                                )
                 Defendant.                     )


      DEFENDANT RICHARD W. GATES III’S UNOPPOSED MOTION TO FOR
                      PERMISSION TO TRAVEL

       Defendant, by and through counsel, respectfully moves this Court to grant him

permission to travel. Mr. Gates asks the Court to grant him permission to take a trip, specified in

Exhibit 1, to a location outside the jurisdiction of his release conditions. The Special Counsel

does not oppose this motion.

       If the Court grants the limited permission to travel to the event, Mr. Gates will promptly

provide Pretrial Services with any specific information about the trip, including the information

identified in Exhibit 1 of the sealed order.

       WHEREFORE, Mr. Gates hereby respectfully moves to grant him permission to travel

according to the limits specified above and in Exhibit 1.

                                                     Respectfully submitted,


                                                     /s/Thomas C. Green
                                                     Thomas C. Green
                                                     D.C. Bar No. 14498
                                                     Sidley Austin LLP
                                                     1501 K Street, N.W.
                                                     Washington, DC 20005
                                                     tcgreen@sidley.com
                                                     (202) 736-8069 (telephone)
                                                     (202) 736-8711 (fax)

                                                     Attorney for Richard W. Gates III
